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1    McGREGOR W. SCOTT
     United States Attorney
2    KIMBERLY A. SANCHEZ
     Assistant United States Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, CA 93721
4    Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
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6
     Attorneys for Plaintiff
7    United States of America

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10                                  IN THE UNITED STATES DISTRICT COURT

11                                      EASTERN DISTRICT OF CALIFORNIA

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14   UNITED STATES OF AMERICA,                              CASE NO. 1:16-CR-00187 DAD

15                                 Plaintiff,               STIPULATION TO EXTEND SUPPLEMENTAL
                                                            BRIEFING (AMENDED)
16                          v.

17   ROBERT GONZALEZ,

18                                Defendant.

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20           The United States, through McGregor W. Scott, United States Attorney and Kimberly A. Sanchez,

21   Assistant U.S. Attorney, and Virna Santos, attorney for Defendant have stipulated to an extension of time for

22   supplemental briefing from March 16, 2020 until March 23, 2020. The government promptly contacted the

23   Bureau of Prisons psychologist after the March 3 hearing and arranged for her to review the defense report

24   and then teleconference on March 9, 2020. On March 8, a tragedy occurred affecting the U.S. Attorney’s

25   office, and undersigned counsel did not speak with the psychologist on March 9. On March 10, undersigned

26   counsel contacted the psychologist and learned she was out of the office until March 16. On March 11,

27   undersigned counsel spoke with the psychologist’s supervisor, who explained that the psychologist is in

28   training that is mandatory for her to maintain her license and will not be available until March 16.

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1    Undersigned counsel contacted defense counsel, who has no objection to extending the time to submit any

2    supplemental briefing to March 23, 2020.

3           The parties further request the Court to enter an Order finding that the "ends of justice" served by an

4    extension outweigh the interest of the public and the defendant in a speedy trial, and that the delay through

5    decision on Defendant’s motion to determine competency is excluded from the Act's time limits pursuant to

6    18 U.S.C. § 3161(h)(7)(A).

7           Dated: March 11, 2020                                    Respectfully submitted,

8                                                                    McGREGOR W. SCOTT
                                                                     United States Attorney
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                                                             By      /s/ Kimberly A. Sanchez
11                                                                   KIMBERLY A. SANCHEZ
                                                                     Assistant U.S. Attorney
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13          Dated: March 11, 2020                                    /s/ Virna Santos
                                                                     VIRNA SANTOS
14                                                                   Attorney for Defendant
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16          Pursuant to the parties stipulation, the parties may file supplemental briefing on or before March 23,

17   2020. Time is excluded through the conclusion of the proceedings related to the court’s determination of the

18   mental capacity of the defendant pursuant to 18 U.S.C. § 3161(h)(1)(A).

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     IT IS SO ORDERED.
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        Dated:     March 11, 2020
21                                                        UNITED STATES DISTRICT JUDGE
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